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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
SALVADOR SANCHEZ,
on behalf of himself and all others
similarly situated,

                                                    Plaintiff,
                                                                           COMPLAINT

                          - against -                                      FLSA COLLECTIVE


ALLWOOD CONSTRUCTION INC.
and GOTHAM DRYWALL INC.
and NIALL ROONEY and JOHN
FITZPATRICK, individually,

                                                     Defendants.
-----------------------------------------------------------------------X
        Plaintiff Salvador Sanchez (“Sanchez” or “Plaintiff”), by and through his attorney, Jacob

Aronauer of The Law Offices of Jacob Aronauer, complaining of Allwood Construction Inc.

(“Allwood”) and Gotham Drywall Inc. (“Gotham”) (collectively the “Defendant Corporations”)

and Niall Rooney and John Fitzpatrick, individually, (collectively “Defendants”), alleges the

following:

                                        NATURE OF THE ACTION

1. Plaintiff brings this action on behalf of himself and all similarly situated current and former

    non-exempt workers who elect to opt-in to this action pursuant to the Fair Labor Standards

    Act (“FLSA”), 29 U.S.C. §§ 201 et seq., and specifically, the collective action provision of

    29 U.S.C. § 216(b), to remedy violations of unpaid overtime provisions of the FLSA by

    Defendants.
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2. Plaintiff and the collective class worked as a finish carpenter at Allwood Construction Inc.

     and Gotham Drywall Inc., construction companies owned, controlled and operated by Niall

     Rooney and John Fitzpatrick, respectively.

3. Plaintiff also brings this action under the Wage Theft Protection Act, for Defendants’ failure

     to provide written notice of wage rates in violation of said laws.

4. Plaintiff and the FLSA Collective seek injunctive and declaratory relief against Defendants’

     unlawful actions, compensation for their failure to pay overtime wages, and liquidated

     damages, compensatory damages, pre-judgment and post-judgment interest, and attorneys’

     fees and costs, pursuant to the FLSA and NYLL.

                                  JURISDICTION AND VENUE

5.      This Court has jurisdiction over this action under 28 U.S.C. § 1331, 29 U.S.C. §§

        216(b)(c), and 217; and 28 U.S.C. § 1337.

6.      This Court has supplemental jurisdiction over the New York state law claims under the

        principles of pendent and ancillary jurisdiction.

7.      Venue is proper in this district under 28 U.S.C. § 1391(b)(c), because all or a substantial

        part of the events or omissions giving rise to the claims occurred herein.

                                             PARTIES

Plaintiff

8.      Plaintiff is and was at all times relevant hereto an adult individual residing in Manhattan,

        New York.

9.      Plaintiff worked at Defendant Corporations from on or about September 2018 until on or

        about June 2019.




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10.   Plaintiff was employed by Defendant Corporations as a finish carpenter. Plaintiff

      trimmed wooden and plastic structures and ornaments and completed final details for

      construction projects. He also installed structures and fixtures in bathrooms and kitchens,

      such as windows, doors, cabinets, and molding. He finished rough edges and made final

      adjustments.

11.   Plaintiff was a covered employee within the meaning of the FLSA and the NYLL.

Defendants

Allwood Construction Inc.

12.   Allwood is a construction business incorporated in the State of New York, with its DOS

      Process address listed as 21 Fenway South, Yonkers, New York 10704 on the NYS

      Department of State Division of Corporations database.

13.   Allwood provided and continues to provide construction services as both a contractor and

      as a subcontractor of Gotham on numerous constructions projects in New York City and

      Brooklyn.

14.   Upon information and belief, Niall Rooney is the President and Chief Executive Officer

      of Allwood.

15.   On information and belief, Allwood Construction Inc. has (1) employees engaged in

      commerce or in the production of goods for commerce and handling, selling, or otherwise

      working on goods or materials that have been moved in or produced for commerce by

      any person; and (2) an annual gross volume of sales in excess of $500,000.00.




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Gotham Drywall Inc.

16.   Gotham is a construction business incorporated in the State of New York, with its DOS

      Process address listed as 220 India Street, Brooklyn, NY 11222 on the NYS Department

      of State Division of Corporations database.

17.   Gotham provided and continues to provide construction services as a contractor on

      numerous construction projects in New York City and Brooklyn.

18.   Upon information and belief, John Fitzpatrick is the President and Chief Executive

      Officer of Gotham.

19.   On information and belief, Gotham Drywall Inc. has (1) employees engaged in commerce

      or in the production of goods for commerce and handling, selling, or otherwise working

      on goods or materials that have been moved in or produced for commerce by any person;

      and (2) an annual gross volume of sales in excess of $500,000.00.

Niall Rooney

20.   Upon information and belief, Niall Rooney maintains control, oversight and the direction

      of Allwood.

21.   Defendant Rooney is a person engaged in business in Kings County, Westchester County,

      and New York County, who is sued individually in his capacity as an owner, officer

      and/or agent of Allwood.

22.   Defendant Rooney exercises sufficient control over Allwood to be considered Plaintiff’s

      employer under the NYLL, and at all times material hereto said defendant had the

      authority to hire and fire Plaintiff and established and maintained policies regarding the

      pay practices at Allwood.

23.   Defendant Rooney employed Plaintiff at all times relevant.



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24.   Defendant Rooney had substantial control over Plaintiff’s working conditions and

      practices alleged herein.

John Fitzpatrick

25.   Upon information and belief, John Fitzpatrick maintains control, oversight and the

      direction of Gotham.

26.   Defendant Fitzpatrick is a person engaged in business in Kings County, Queens County,

      and New York County, who is sued individually in his capacity as an owner, officer

      and/or agent of Gotham.

27.   Defendant Fitzpatrick exercises sufficient control over Gotham to be considered

      Plaintiff’s employer under the NYLL.

                                            FACTS

Plaintiff Salvador Sanchez’s Employment with Defendants

28.   Plaintiff worked as a finish carpenter for Defendants from on or about September 2018

      through June 2019.

29.   Plaintiff’s job duties were trimming wooden and plastic structures and ornaments and

      completing final details for construction projects. He also installed structures and fixtures

      in bathrooms and kitchens, such as windows, doors, cabinets and molding.

30.   Plaintiff worked on various construction projects in Manhattan and Brooklyn on behalf of

      Defendants.

31.   At the beginning of Plaintiff’s employment for Defendants, he worked for Defendants at

      projects that located at 86th Street and Lexington and 46th Street and 6th Avenue in

      Manhattan. For the majority of Plaintiff’s employment with Defendants, he worked at a

      project located at 189 Montague St. in Brooklyn.



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32.   Plaintiff’s direct supervisor was Defendant Niall Rooney.

33.   Throughout his employment with Defendants, Plaintiff was scheduled to work more than

      40 hours each week.

34.   Throughout his employment with Defendants, Plaintiff worked 6 days a week, from

      Monday through Saturday.

35.   Plaintiff usually worked from 7:00 a.m. to 3:30 pm each day.

36.   Throughout his employment with Defendants, Plaintiff received 30-minute lunch breaks

      each day.

37.   Plaintiff usually worked at least 48 hours per week.

38.   However, Plaintiff was often required to work until 5:30 pm or 6:30 pm. His departure

      time, though, varied depending on the project. Plaintiff was never paid at time and one

      half his regular rate when he worked more than 40 hours a week.

39.   During Plaintiff’s first 4 weeks of work he was paid in cash by Defendants.

40.   After Plaintiff’s first 4 weeks of work he was paid by check by Defendants.

41.   Upon information and belief, Plaintiff’s checks did not accurately reflect his overtime

      hours worked.

42.   During Plaintiff’s first 2 weeks of work for Defendants, Sanchez was paid $18 per hour.

      Plaintiff, though, was not paid correctly for all of his overtime hours worked.

43.   From mid-June 2018 through on our about October 2018, Sanchez was paid $23 per hour.

      Sanchez, though, was not paid correctly for all of his overtime hours worked.

44.   From November, 2018 through the end of his employment, Sanchez was paid $25 per

      hour. Sanchez, though, was not paid correctly for all of his overtime hours worked.




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45.   Throughout his employment with Defendants, even though Plaintiff was not exempt,

      Plaintiff was not paid overtime in compliance with the FLSA and NYLL.

46.   Throughout Plaintiff’s employment, Defendants did not require Plaintiff to “clock in” or

      use any other formal time tracking method with respect to his hours.

47.   Throughout his employment with Defendants, Plaintiff was never provided with any

      documentation as to the hours he worked.

48.   Throughout his employment with Defendants, Plaintiff was never provided with any

      documentation as to his regular or overtime rates of pay.

Defendants’ Violations of the Wage Theft Protection Act

49.   The NYLL and Wage Theft Prevention Act require employers to provide all employees

      with a written notice of wage rates.

50.   Throughout the relevant time period, Defendants paid Plaintiff’s wages without the

      proper accompanying statement listing the overtime rate or rates of pay, the number of

      regular hours worked and the number of overtime hours worked, gross wages,

      deductions, allowances, if any, claimed as part of the minimum wage, and net wages.

51.   Plaintiff was never given a notice containing the rate or rates of pay and basis thereof,

      whether paid by the hour, shift, day, week, salary, piece commission, or other;

      allowances, if any, claimed as part of the minimum wage, including tip, meal, or lodging

      allowances; the regular pay day designated by the employer in accordance with NYLL

      191; the name of the employer; any “doing business as” names used by the employer; the

      physical address of the employer’s main office or principal place of business, and a

      mailing address if different; the telephone number of the employer; and anything

      otherwise required by law.



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                     COLLECTIVE ACTION ALLEGATIONS

52. The claims in this Complaint arising out of the FLSA are brought by Plaintiff on behalf

   of himself and other similarly situated persons who are current and former employees of

   Defendants since the date three years prior to the filing of this Complaint who elect to

   opt-in to this action (the “FLSA Collective”).

53. The FLSA Collective consists of approximately 25 similarly situated current and former

   construction workers who have been victims of Defendants’ common policy and

   practices that have violated their rights under the FLSA by, inter alia, willfully denying

   them overtime wages.

54. As part of its regular business practice, Defendants have intentionally, willfully and

   repeatedly harmed Plaintiff and the FLSA Collective by engaging in a pattern and/or

   policy of violating the FLSA. This policy includes, inter alia, the following:

               i. failing to pay employees the applicable overtime rate for all time worked
                  in excess of forty (40) hours per week; and

55. Defendants have engaged in their unlawful conduct pursuant to a corporate policy of

   minimizing labor costs and denying employees compensation. Defendants’ unlawful

   conduct has been intentional, willful and in bad faith, and has caused significant damage

   to Plaintiff and the FLSA Collective.

56. The FLSA Collective would benefit from the issuance of a court-supervised notice of the

   present lawsuit and the opportunity to join the present lawsuit. Those similarly situated

   employees are known to Defendants, are readily identifiable and locatable through their

   records. These similarly situated employees should be notified of and allowed to opt into

   this action, pursuant to 29 U.S.C. § 216(b).




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      57. The FLSA and NYLL require that employers pay all employees at least one and one-half

         (1.5) times the employee’s wage for all hours worked in excess of 40 during any

         workweek, unless they are exempt from coverage.

      58. Defendants failed to compensate Plaintiff and members of the FLSA Collective at one

         and one-half times the employee’s wage for all hours worked in excess of 40 during any

         workweek. The exact accounting of such discrepancy can only be determined upon

         completion of discovery.

      59. Plaintiff and members of the FLSA Collective were not given notice containing the rate

         or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

         commission, or other; allowances, if any, claimed as part of the minimum wage,

         including tip, meal or lodging allowances; the regular pay day designated by the

         employer in accordance with NYLL § 195(1); and anything otherwise required by law.

                                FIRST CAUSE OF ACTION
                       FLSA Overtime Violations, 29 U.S.C. §§ 201, et seq.
                             (on behalf of the FLSA Collective )

60.      Plaintiff re-alleges and incorporates by reference all allegations in all preceding

         paragraphs.

61.      Throughout the relevant time period, Plaintiff worked in excess of forty (40) hours per

         workweek.

62.      At all relevant times throughout Plaintiff’s employment, Defendants operated under a

         policy of willfully failing and refusing to pay Plaintiff one and one-half times the regular

         hourly rate of pay for work in excess of forty (40) hours per workweek, and willfully

         failing to keep records required by the FLSA, even though Plaintiff was entitled to

         receive overtime payments.



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63.   At all relevant times throughout Plaintiff’s employment, Defendants willfully, regularly

      and repeatedly failed to pay the required overtime rate of one and one-half times his

      regular hourly rate for hours worked in excess of forty (40) hours per workweek.

64.   Defendants’ decision not to pay overtime to Plaintiff was willful.

65.   Plaintiff seeks damages in the amount of his unpaid overtime compensation, liquidated

      damages as provided by the FLSA for overtime violations, attorneys’ fees and costs, and

      such other legal and equitable relief as this Court deems just and proper.

                             SECOND CAUSE OF ACTION
                    Unpaid Overtime Wages Under New York Labor Law
                                  (On behalf of Plaintiff)

66.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding

      paragraphs.

67.   At all times relevant to this action, Plaintiff was employed by Defendants within the

      meaning of NY Labor Law § 652 and 12 NYCRR §142-2.2.

68.   Defendants failed to pay Plaintiff the overtime premium of one and a half times the

      regular hourly rate of pay, in violation of the NY Labor Law.

69.   Defendants’ failure to pay required overtime was willful.

70.   As a result of Defendants’ NY Labor Law violations, Plaintiff is entitled to recover from

      Defendants unpaid overtime wages and liquidated (double) damages, as well as

      reasonable attorneys’ fees and the costs of this action, including interest, pursuant to the

      NY Labor Law.




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                           THIRD CAUSE OF ACTION
            New York Labor Law – Failure to Provide Annual Wage Notices
                             (On Behalf of Plaintiff)

71.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding

      paragraphs.

72.   Defendants willfully failed to supply Plaintiff with wage notices, as required by NYLL,

      Article 6, § 195(1), in English or in the language identified by Plaintiff as his primary

      language, containing Plaintiff’s rate, including but not limited to overtime rates of pay

      and basis thereof; the regular pay day designated by the employer in accordance with

      NYLL, Article 6, § 191.

73.   Through their knowing or intentional failure to provide Plaintiff the wage notices

      required by the NYLL, Defendants willfully violated NYLL, Article 6, §§ 190 et seq.,

      and the supporting New York State Department of Labor Relations regulations.

74.   Due to Defendants’ willful violations of NYLL, Article 6, § 195(1), Plaintiff is entitled to

      statutory penalties of fifty dollars for each workday that Defendants failed to provide

      Plaintiff with wage notices, or a total of five thousand dollars each, reasonable attorneys’

      fees, costs and injunctive and declaratory relief, as provided for by NYL, Article 6, §

      198(1-b).

                             FOURTH CAUSE OF ACTION
                  New York Labor Law- Failure to Provide Wage Statements
                                 (On Behalf of Plaintiff)

75.   Plaintiff re-alleges and incorporates by reference all allegations in all preceding

      paragraphs.

76.   Defendants willfully failed to supply Plaintiff with accurate statements of wages as

      required by NYLL, Article 6, § 195(3), containing the dates of work covered by that



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       payment of wages; name of employee; name of employer; address and phone number of

       employer; rate or rates of pay and basis thereof, whether paid by the hour, shift, day,

       week, salary, piece, commission, or other; gross wages; hourly rate or rates of pay and

       overtime rate or rates of pay if applicable; the number of hours worked, including

       overtime hours worked if applicable; deductions; and net wages.

77.    Through their knowing or intentional failure to provide Plaintiff with the wage statements

       required by the NYLL, Defendants willfully violated NYLL, Article 6, §§ 190 et seq.,

       and the supporting New York State Department of Labor Relations regulations.

78.    Due to Defendants’ willful violations of NYLL, Article 6, § 195(3), Plaintiff is entitled to

       statutory penalties of two hundred and fifty dollars for each work week that Defendants

       failed to provide Plaintiff with accurate wage statements, or a total of five thousand

       dollars each, reasonable attorneys’ fees, costs and injunctive and declaratory relief, as

       provided for by NYLL, Article 6, § 198(1-d).

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the entry of an order and judgment against

Defendants, Allwood Construction Inc. and Gotham Drywall Inc. and Niall Rooney and John

Fitzpatrick, individually, jointly and severally, as follows:

       (a) Designation of this action as a collective action on behalf of the FLSA Collective Members

           (asserting FLSA claims and state claims) and prompt issuance of notice pursuant to 29 U.S.C.

           § 216(b) to all similarly situated members of the FLSA opt-in class, apprising them of the

           pendency of this action, and permitting them to assert timely FLSA claims and state claims in

           this action by filing individual Consent to Sue forms pursuant to 29 U.S.C. § 216(b);




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      (b) Damages for the unpaid overtime pay due to Plaintiff and the FLSA Collective, in an amount

          to be determined at the trial of the action, along with liquidated damages as provided by the

          FLSA;

      (c) Damages for the overtime pay due to Plaintiff, along with liquidated damages permitted by

          law pursuant to the NYLL and the supporting New York State Department of Labor

          Regulations;

      (d) Penalties of fifty dollars for each work day that Defendants failed to provide Plaintiffs

          with a wage notice, or a total of five thousand dollars, as provided for by NYLL,

          Article 6, § 198;

      (e) Penalties of two hundred and fifty dollars for each work day that Defendants failed to

          provide Plaintiffs with accurate wage statements, or a total of five thousand dollars as

          provided for by NYLL, Article 6, § 198;

      (f) For pre-judgment and post-judgment interest on the foregoing amounts;

      (g) For his costs and disbursements of this action, including attorneys’ fees and expenses; and

      (h) For such other further and different relief as this Court deems just and proper.

Dated: November 27, 2019
       New York, New York
                                                        THE LAW OFFICES OF JACOB
                                                        ARONAUER

                                                        By:     /s/ Jacob Aronauer
                                                                Jacob Aronauer (JA: 9184)
                                                                225 Broadway, 3rd Floor
                                                                New York, NY 10007
                                                                Telephone:    (212) 323-6980
                                                                Facsimile:    (212) 233-9238
                                                                jaronauer@aronauerlaw.com

                                                                Attorney for Plaintiff




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